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                 Exhibit 6
To Defendant Concord Management
 and Consulting LLC’s Motion to
        Compel Discovery
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                 Case 1:18-cr-00032-DLF Document 229-6 Filed 11/05/19 Page 3 of 3

EXTERNAL E-MAIL

Dear counsel:

Please see attached.

Thanks,
Jonathan

Jonathan Kravis
Deputy Chief, Fraud and Public Corruption Section
U.S. Attorney’s Office for the District of Columbia
202‐252‐6886

From: Seikaly, Kate J <KSeikaly@ReedSmith.com>
Sent: Wednesday, June 5, 2019 4:56 PM
To: Kravis, Jonathan (USADC) <JKravis1@usa.doj.gov>; Curtis, Deborah (USADC) <DCURTIS4@usa.doj.gov>; Rakoczy,
Kathryn (USADC) <KRakoczy2@usa.doj.gov>; Alpino, Heather (NSD) (JMD) <Heather.Alpino@usdoj.gov>
Cc: Dubelier, Eric A. <EDubelier@ReedSmith.com>
Subject: Concord Discovery Request

Counsel,

Please see the attached letter.

Thank you,
Kate


Kate Seikaly
703.641.4231
kseikaly@reedsmith.com

Reed Smith LLP
7900 Tysons One Place
Suite 500
McLean, VA 22102-5979
+1 703 641 4200
Fax +1 703 641 4340


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